         Case 3:17-cv-00439-JWD-EWD              Document 265        07/20/21 Page 1 of 3

 LAMD Using ZoomGov as a Participant
                                                                  sdd20 – Hon. Shelly D. Dick
On Laptop: Join a meeting (use Chrome or IE)                      baj20 – Hon. Brian A. Jackson
Navigate to room URL: https://zoomgov.com/my/____                 jwd20 – Hon. John W. deGravelles
                                                                  rlb20 – Hon. Richard L. Bourgeois, Jr.
                                                                  ewd20 – Hon. Erin Wilder-Doomes
                                                                  sdj20 – Hon. Scott D. Johnson




OPTION 1: Join with Computer Audio (for best audio quality use a headset)
OPTION 2: Join by Phone Call


                                                                                              Page 1 of 3
        Case 3:17-cv-00439-JWD-EWD             Document 265        07/20/21 Page 2 of 3




 Meeting ID                                        Judge
 160-0389-3634                                     SDD – Chief Judge Shelly D. Dick
 160-0389-3692                                     BAJ – Judge Brian A. Jackson
 160-0389-3568                                     JWD – Judge John W. deGravelles
 160-0389-3602                                     RLB – Magistrate Richard L. Bourgeois
 160-0389-3584                                     EWD – Magistrate Erin Wilder-Doomes
 160-0389-3592                                     SDJ – Magistrate Scott D. Johnson
 160-0389-3500                                     LAMD Court (for testing)

Mute your Microphone when not speaking




On iPhone, iPad or Android:
In advance, Download the ZOOM Cloud Meetings app from Apple App Store or Google Play Store.
   -   You will be sent a meeting URL to connect to the Zoom Call, when clicking the URL on
       iPhone or Android device it should automatically open in the Zoom App.
   Judge Meeting Room Links:
   Navigate to the URL provided: https://zoomgov.com/my/ewd20 (Magistrate Erin Wilder-Doomes)
   -   Click “Join with Video” or “Join without Video”
   -   Click “Call using Internet Audio”
 You should now be connected to the Zoom call.
 If the meeting URL didn’t work, use the following instructions:


Open ZOOM Cloud Meetings app on iPhone or Android
   -   Click Join a Meeting
   -   Enter the Meeting ID: 160-0389-3584 (EWD)
   -   Click “Join with Video” or “Join without Video”
   -   Click “Call using Internet Audio”



                                                                                       Page 2 of 3
         Case 3:17-cv-00439-JWD-EWD              Document 265        07/20/21 Page 3 of 3




Breakout Room
When being invited to a Breakout Room, click the Join button on the pop-up.




To return back to the Main Session, click “Leave Breakout Room.”




                                                                                       Page 3 of 3
